              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                               1:06 cr 31-4


UNITED STATES OF AMERICA,              )
                                       )
      v.                               )                                 ORDER
                                       )
DANNY LEE HALL,                        )
                                       )
                 Defendant.            )
______________________________________ )

       Before the Court is Defendant Hall’s Motion for Bond Hearing. [# 410]. On March 23,

2018, the Court appointed Mr. Dustin Dow as counsel for Defendant regarding the revocation of

Defendant’s supervised release. On March 26, 2018, the Court entered an order of detention as to

Defendant. [# 400]. Defendant’s final hearing is scheduled for April 12, 2018.

       The Court DENIES Defendant’s motion [# 410]. Defendant has counsel, filed the motion

pro se, and the Court does not find an exception to entertain the motion. See LCrR 47.1(g). Further,

Defendant’s final hearing is scheduled for April 12, 2018—two days from the entry of this Order.




                                           Signed: April 10, 2018




    Case 1:06-cr-00031-MR-WCM             Document 411          Filed 04/10/18    Page 1 of 1
